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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:09CR3044
      vs.
                                                    MEMORANDUM AND ORDER
RICARDO GONZALES,
                    Defendant.


      Defendant has moved to continue the pretrial motion deadline, (filing no. 297),
because the defendant and defense counsel need additional time to fully review the
discovery received before deciding if pretrial motions should be filed. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (filing no. 297), is granted.

      2)     Pretrial motions and briefs shall be filed on or before September 18, 2015.

      3)     Trial of this case remains scheduled to commence on October 5, 2015.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendant in a speedy trial, and the additional
             time arising as a result of the granting of the motion, the time between
             today’s date and September 18, 2015, shall be deemed excludable time in
             any computation of time under the requirements of the Speedy Trial Act,
             because despite counsel’s due diligence, additional time is needed to
             adequately prepare this case for trial and failing to grant additional time
             might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

      September 9, 2015.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
